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UNITED STATES DISTRICT COURT
FOR THE DlSTRICT OF MASSACHUSETTS

 

)
GLENN THIBODEAU )
Plaintiff, )
)

vs. ) Civil Action No. 1:12-cv-11572
)
)
VITAL RECOVERY SERVICES, INC., )
JOHN DOES, and JANE DOES )
Defendants, )
l

 

COMPLAINT AND DEMAND FOR JURY TRIAL

I. INTRODUCTION

l. This is an action for actual and statutory damages brought by plaintiff Glenn
Thibodeau, an individual consumer, against Defendants’ violations of the Fair Debt
Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter “FDCPA”) Which
prohibits debt collectors from engaging in abusive, deceptive, and unfair practices, and
also out of the invasions of Plaintiff’s personal privacy by these Defendants and their

agents in their illegal efforts to collect a consumer debt from Plaintiff.

 

 

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II. JURISDICTION

2. Jurisdiction of this court arises under 15 U.S.C. § 1692k(d), Which states that such
actions may be brought and heard before, “[A]ny appropriate United States district court

Without regard to the amount in controversy,” and also under 28 U.S.C. § 1337.

3. Venue in this District is proper pursuant to 28 U.S.C. § l39l(b)(2) in that a substantial
part of the events or omissions giving rise to the claim occurred here. Since Defendant

transacts business here, personal jurisdiction is established

III. PAR TIES

4. Plaintiff, Glenn Thibodeau is a consumer, as that term is defined by 15 U.S.C. §
l692a(3), as Well as a natural person allegedly obligated to pay any debt, residing in

Essex County, in the state of Massachusetts.

5. Defendant, Vital Recovery Services, lnc. is a collection agency and foreign
corporation engaged in the business of collecting debt in this state with its principal place

of business located in the state of Georgia.

 

 

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6. Defendant John Does 1-10 (hereinafter “Defendant John Does”) are natural person(s)
who were employed by Defendants as collection agents, whose identities are currently
unknown to Plaintiff. Defendant John Does are “debt collectors” as that term is defined
by the FDCPA, 15 U.S.C. § 1692a(6). One or more of the Collectors may be joined as

parties once their identities are disclosed through discovery.

7. Defendant Jane Does 1-10 (hereinafter “Defendant Jane Does”) are natural person(s)
who was employed by Defendants as collection agents, whose identities are currently
unknown to Plaintiff. Defendant Jane Does are “debt collectors” as that term is defined
by the FDCPA, 15 U.S.C. § 1692a(6). One or more of the Collectors may be joined as

parties once their identities are disclosed through discovery.

8. Plaintiff is informed and believes, and thereon alleged, that Defendants use
instrumentalities of interstate commerce or the mails in any business, the principal
purpose of Which being the collection of debts. Defendants are engaged in the collection
of debts from consumers using the mail, electronic mail, facsimile, and telephone, and
regularly collects or attempts to collect, directly or indirectly, debts owed or due or
alleged to be owed or due another, being a “debt collector” as defined by the FDCPA,

15 U.s.C. § 16923(6).

9. At all relevant times, Defendants acted through it duly authorized agents, employees,
officers, members, directors, heirs, successors, assigns, principals, trustees, sureties,

subrogees, representatives, and insurers.

 

 

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IV. FACTUAL ALLEGA TIONS

10. Sometime before 2012, Plaintiff, Glenn Thibodeau, incurred a financial obligation
that was primarily for personal, family, or household purposes and is therefore a ‘debt’,

as that term is defined by the FDCPA, 15 U.S.C. § 1692a(5).

11. Upon information and belief, at some point the alleged debt was consigned, placed or

otherwise transferred to Defendants for collection from Glenn.

12. The debt that Defendants are attempting to collect on is an alleged obligation of a
consumer to pay money arising out of a transaction in which the money, property,
insurance or services which are the subject of the transaction are primarily for personal,
family, or household purposes, whether or not such obligation has been reduced to

judgment, as, again, defined by the FDCPA, 15 U.S.C. § 169221(5).

13. Defendants then within one year prior to the filing of this complaint, began
contacting Glenn and placing collection calls to Glenn prior to August 22, 2012; seeking

and demanding payment for an alleged consumer debt owed under an account number.

14. Upon information and belief, within one year prior to the filing of this complaint,
Defendants continued to call Glenn’s workplace, without his express consent and without
the call(s) being for emergency purposes, after having already been given reason to know

that this inconvenienced Glenn and/or was prohibited.

 

 

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15. Upon information and belief, within one year prior to the filing of this complaint,
Defendants, during communications directed to Glenn, did not state that Defendants were

debt collectors, attempting to collect on a debt, and that any information obtained would

be used for that purpose.

SUMMAR Y

16. All of the above-described collection communications made to Plaintiff Glenn
Thibodeau by each individual Defendant and other collection employees employed by
Defendant Vital Recovery Services, Inc. were made in violation of numerous and

multiple provisions of the FDCPA, including but not limited to all of the provisions of the

FDCPA cited herein.

l7. The above-detailed conduct by these Defendants of harassing Glenn in an effort to
collect this debt was a violation of numerous and multiple provisions of the FDCPA,
including but not limited to all of the above mentioned provisions of the FDCPA, as well

as an invasion of Glenn’s privacy.

18. As a result of the acts alleged above, Defendants caused Glenn to become very upset

because of the aggressive manner in which this debt was collected by these Defendants.

 

 

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19. Glenn suffered actual damages as a result of these illegal collection communications
by these Defendants in the form of anger, anxiety, emotional distress, fear, frustration,
humiliation, upset, embarrassment, amongst other negative emotions, as well as suffering

from unjustified and abusive invasions of personal privacy.

20. Defendants’ repeated unlawful attempts to collect this alleged debt from Glenn, was

an invasion of Glenn’s privacy and his right to be left alone.

21. Defendants’ illegal abusive collection communications as more fully described above

were the direct and proximate cause of severe emotional distress on the part of Glenn.

RESPONDEA T SUPERIOR LIABILITY

22. The acts or omissions of these individual Defendants, and the other debt collectors
employed as agents by Defendant Vital Recovery Services, Inc. who communicated with
Plaintiff Glenn Thibodeau as more further described herein, were committed within the
time and space limits of their agency relationship with their principal, Defendant Vital

Recovery Services, Inc.

23. The acts and omissions by these individual Defendants and these other debt
collectors were incidental to, or of the same general nature as, the responsibilities these
agents Were authorized to perform by Defendant Vital Recovery Services, Inc. in

collecting consumer debts.

 

 

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24. By committing these acts and omissions against Glenn, these individual Defendants
and these other debt collectors were motivated to benefit their principal, Defendant Vital

Recovery Services, Inc.

25. Defendant Vital Recovery Services, Inc. is therefore liable to Glenn through the
Doctrine of Respondeat Superior for the intentional and negligent acts, errors, and
omissions done in violation of state and federal law by its collection employees,
including but not limited to violations of the FDCPA, in their attempts to collect this debt

by communicating with Glenn.

V. CAUSES UFACTION

COUNTI
VIOLATIONS OF THE FAIR DEBT COLLECTIUNPRACTICESACT

15 U.S.C. §1692 et seq.

26. Plaintiff repeats, realleges, and incorporates by reference all of the above paragraphs

of this Complaint as though fully stated herein.

27. The foregoing acts and omissions of each Defendant and their agents constitute

numerous and multiple violations of the FDCPA including, but not limited to, each and

 

 

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every one of the provisions of the FDCPA, 15 U.S.C. § 1692 et seq., cited above, and

below, with respect to Plaintiff:

(a) Defendant violated § 1 692f of the FDCPA by using unfair or
unconscionable means in connection with the collection of an alleged

debt; and

(b) Defendant violated §1692b(2) of the FDCPA by telling an unrelated
third party that Plaintiff owes an alleged debt without Plaintiff

consent; and

(c) Defendant violated §1692€(1]) of the FDCPA by failing to disclose in
the oral communications with Plaintiff that the communications were
from a debt collector, and that the debt collector was attempting to
collect a debt, and that any information obtained would be used for

that purpose, when said communications were not formal pleadings

28. As a result of the foregoing violations of the FDCPA, Defendants are liable to the
Plaintiff Glenn Thibodeau for actual damages pursuant to 15 U.S.C. § 1692k(a)(l),
statutory damages in an amount up to $lOO0.00 pursuant to 15 U.S.C. § l692k(a)(2)(A),
and reasonable costs and attorney fees pursuant to 15 U.S.C. § 1692k(a)(3), from each

Defendant herein.

 

 

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COUNTII.

INVASION OF PRIVA CY BY INTR USION UPON SECL USION

29. Plaintiff Glenn Thibodeau repeats, realleges, and incorporates by reference all of the

above paragraphs of this Complaint as though fully stated herein.

30. Congress explicitly recognized a consumer’s inherent right to privacy in collection
matters in passing the Fair Debt Collection Practices Act, when it stated as part of its
findings:

Abusive debt collection practices contribute to the number of personal
bankruptcies, to marital instabilitv, to the loss of iobs, and to invasions of

individual privacy

15 U.S.C. § 1692(a) (emphasis added).

31. Congress further recognized a consumer’s right to privacy in financial data in
passing the Gramm Leech Bliley Act, which regulates the privacy of consumer financial
data for a broad range of “financial institutions” including debt collectors, albeit without

a private right of action, when it stated as part of its purposes:

lt is the policy of the Congress that each financial institution has an affirmative

and continuing obligation to respect the privacy of its customers and to protect the

security and confidentiality of those customers’ nonpublic personal information

15 U.S.C. § 680l(a) (emphasis added).

 

 

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32. Defendants and/or their agents intentionally and/or negligently interfered, physically
or otherwise, with the solitude, seclusion and/or private concerns or affairs of Glenn,
namely, by repeatedly and unlawfully attempting to collect a debt and thereby invaded

Glenn’s privacy.

33. Defendants also intentionally and/or negligently interfered, physically or otherwise,
with the solitude, seclusion and/or private concerns or affairs of the Glenn, namely, by
repeatedly and unlawfully continuing to call Glenn at work after having been given
reason to know that such conduct inconvenienced Glenn and/or was prohibited, without
Glenn’s consent and without the call(s) being for emergency purposes, and thereby

invaded Glenn’s right to privacy.

34. Defendants and their agents intentionally and/or negligently caused emotional harm
to Glenn by engaging in highly offensive conduct in the course of collecting this debt,

thereby invading and intruding upon Glenn’s right to privacy.

35. Glenn had a reasonable expectation of privacy in Glenn’s solitude, seclusion, private

concerns and affairs.

36. The conduct of these Defendants and their agents, in engaging in the above-described
illegal collection conduct against Glenn, resulted in intrusion(s) upon his seclusion and
thus invasions of his privacy by these Defendants which occurred in a way that would be

highly offensive to a reasonable person in that position.

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37. Defendants’ acts as described above were done intentionally with the purpose of

coercing Glenn to pay the alleged debt,

38. As a result of such intrusions and invasions of privacy, Defendants are liable to
Glenn for actual damages in an amount to be determined at trial from each and every

Defendant.

VI. PRA YER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that judgment be entered against each

Defendant for the following:

A. Actual damages from each Defendant pursuant to 15 U.S.C. § l692k(a)(1) for the
emotional distress suffered as a result of the intentional and/or negligent FDCPA
violations, and from each Defendant for intentional and/or negligent invasions of privacy

in an amount to be determined at trial and for Plaintiff.

B. Statutory damages of $1000.00 from each Defendant pursuant to 15 U.S.C. §

1692k(a)(2)(A).

C. Costs and reasonable attorney fees from each Defendant and for Plaintiff pursuant to

15 U.s.C. § 1692k(a)(3).

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D. Punitive damages

E. For such other and further relief as the Court may deem just and proper.

Dated: August 22, 2012 RESPECTFULhY SUBMITTED,
By: /s/ Kevin Crick
Kevin Crick
BBO: 680950
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DEI\MND FOR JURY TRIAL
Please take notice that plaintiff Glenn Thibodeau demands trial by jury in this action on

all issues so triable. US Const. amend. 7. Fed.R.Civ.P. 38.

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